Case 1:19-cv-00067-LO-MSN Document 51-1 Filed 09/17/19 Page 1 of 8 PageID# 557



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division


  CODE-TO-LEARN FOUNDATION D/B/A
  SCRATCH FOUNDATION,

        Plaintiff,
                                                        Civil Action No. 1:19-cv-67-LO-MSN
  v.

  SCRATCH.ORG, an Internet domain name,

        Defendant.


                PROTECTIVE ORDER WITHOUT SEALING PROVISIONS

        Plaintiff Code-To-Learn Foundation d/b/a Scratch Foundation and Defendant Scratch.org

 having jointly requested that the Court issue a protective order to protect the confidentiality of

 non-public and competitively-sensitive information that may need to be disclosed to adversary

 parties in connection with discovery in this case, and the Court having found that good cause

 exists for issuance of an appropriately-tailored protective order governing the pre-trial phase of

 this action, it is therefore hereby ORDERED that any person subject to this Order – including

 without limitation the parties to this action, their representatives, agents, experts and consultants,

 all third parties providing discovery in this action, and all other interested persons with actual or

 constructive notice of this Order – shall adhere to the following terms, upon pain of contempt:

        1.      Any person subject to this Order who receives from any other person any

 “Discovery Material” (i.e., information of any kind provided in the course of discovery in this

 action, by any party or any third party, including but not limited to deposition testimony) that is

 designated as “Confidential” or “Outside Counsel’s Eyes Only” (collectively “Confidential
Case 1:19-cv-00067-LO-MSN Document 51-1 Filed 09/17/19 Page 2 of 8 PageID# 558



 Discovery Material”) pursuant to the terms of this Order shall not disclose such Confidential

 Discovery Material to anyone else except as expressly permitted hereunder.

        2.      Either the person producing any given Discovery Material or either party to this

 litigation may designate any Discovery Material as “Confidential” when in the good faith

 judgment of the party making the disclosure, the Discovery Material contains: proprietary or

 competitively sensitive information or other private information, the disclosure of which would

 be detrimental to that party.

        3.       “Discovery Material” includes the information both as originally produced and in

 any other form, including copies, notes, and summaries of such information.

        4.      Either the person producing any given Discovery Material or either party to this

 litigation may designate as “Outside Counsel’s Eyes Only” information that it deems so

 competitively sensitive that it should not be learned by its competitors or persons with whom it

 conducts business. Such information shall be disclosed only to: (i) outside counsel who have

 appeared of record for any party in this case and have signed this Protective Order, and partners,

 shareholders, associates, paralegal assistants, clerical staff and secretaries who are regularly

 employed by such counsel and are engaged in assisting such counsel with respect to this

 Litigation, (ii) the Court and its personnel involved in this litigation, but only to the extent

 necessary for such persons to perform their tasks in connection with this litigation; (iii) court

 reporters, stenographers, and videographers retained to record testimony taken in this action; (iv)

 any person who appears as the author or as an addressee on the face of the document or who has

 been identified by the producing party as having been provided with the document or the

 information by the producing party; and (v) any other person with the prior written consent of

 the producing party. Such information shall not be disclosed to a party or its agents, other than



                                                    2
Case 1:19-cv-00067-LO-MSN Document 51-1 Filed 09/17/19 Page 3 of 8 PageID# 559



 agents described in the preceding sentence. Unless specifically noted, all other terms of this

 Protective Order apply equally to Discovery Material designated as “Confidential” and

 information designated as “Outside Counsel’s Eyes Only.” A designation of “Confidential” or

 “Outside Counsel’s Eyes Only” by any party shall have no evidentiary value and shall not be

 admissible by one party against the other for any purpose.

        5.      Any person or that person’s counsel may designate Discovery Material as

 “Confidential” or “Outside Counsel’s Eyes Only” by stamping or otherwise clearly marking it as

 “Confidential” or “Outside Counsel’s Eyes Only.” With respect to deposition transcripts and

 exhibits, any party or any party’s counsel may indicate on the record, or at any time after the

 conclusion of the deposition, that a question calls for Confidential Discovery Material, in which

 case the transcript of the designated testimony shall be bound in a separate volume and

 appropriately marked “Confidential” or “Outside Counsel’s Eyes Only” by the reporter.

        6.      If at any time prior to the trial of this action, either the person producing any

 given Discovery Material or either party to this litigation realizes that some portion[s] of

 Discovery Material previously produced without limitation should be designated as Confidential

 Discovery Material, he may so designate by so apprising all parties in writing, and such

 Confidential Discovery Material will hereafter be treated according to the terms of this Order.

        7.      No person subject to this Order other than the producing person shall disclose any

 of the Discovery Material designated by the producing person as Confidential to any other

 person whomsoever, except to:

        (a)     the parties to this action;

        (b)     counsel retained specifically for this action, including any paralegal, clerical and

 other assistant employed by such counsel and assigned to this matter;



                                                   3
Case 1:19-cv-00067-LO-MSN Document 51-1 Filed 09/17/19 Page 4 of 8 PageID# 560



        (c)     as to any document, its author, its addressee, and any other person indicated on

 the face of the document as having received a copy;

        (d)     any witness who counsel for a party in good faith believes may be called to testify

 at trial or deposition in this action, provided such person has first executed a Non-Disclosure

 Agreement in the form annexed as an Exhibit hereto;

        (e)     any person retained by a party to serve as an expert witness or otherwise provide

 specialized advice to counsel in connection with this action, provided such person has first

 executed a Non-Disclosure Agreement in the form annexed as an Exhibit hereto;

        (f)     stenographers engaged to transcribe depositions conducted in this action; and

        (g)     the Court and its support personnel.

 For the avoidance of doubt, nothing in this Order shall prohibit a party receiving Confidential

 Discovery Material from disclosing information that is or becomes generally available or known

 to the general public through no involvement of the receiving party or information that was

 already fully known by or fully available to the receiving party prior to disclosure.

        8.      Prior to any disclosure of any Confidential Discovery Material to any person

 referred to in subparagraphs 6(d) or 6(e) above, such person shall be provided by counsel with a

 copy of this Protective Order and shall sign a Non-Disclosure Agreement in the form annexed as

 an Exhibit hereto stating that that person has read this Order and agrees to be bound by its terms.

 Said counsel shall retain each signed Non-Disclosure Agreement, hold it in escrow, and produce

 it to opposing counsel either prior to such person being permitted to testify (at deposition or trial)

 or at the conclusion of the case, whichever comes first.

        9.      Whenever a Court conference, hearing, trial or similar proceeding may involve

 the disclosure of Confidential Discovery Material, the parties shall endeavor to avoid the



                                                   4
Case 1:19-cv-00067-LO-MSN Document 51-1 Filed 09/17/19 Page 5 of 8 PageID# 561



 unnecessary disclosure of Confidential Discovery Material. The Court has not made any

 findings that would authorize filings under seal. The parties must follow the procedures

 authorized by the Court in the event any Confidential Discovery Materials are to be submitted to

 the Court for filing under seal. The parties have agreed to seek such protection when filing any

 motion, memorandum, brief or other pleading that exhibits any documents or discloses

 information obtained from a document that has been designated as “Confidential” or “Outside

 Counsel’s Eyes Only”.

        10.     Any party or producing person who objects to any designation of confidentiality

 may at any time prior to the trial of this action serve upon counsel for the designating person or

 party requesting production a written notice stating with particularity the grounds of the

 objection or request, or make production under a designation that limits disclosure and/or

 transmission of produced documents. If agreement cannot be reached promptly, counsel for all

 affected persons may approach the Court to obtain a ruling. The Confidential Discovery

 Materials which are the subject of such motion shall be treated in accordance with the designated

 “Confidential” or “Outside Counsel’s Eyes Only” status pending the Court’s decision on the

 motion. In all motions to modify a designation, the Party propounding the designation shall bear

 the burden of justifying the particular designation made.

        11.     Each person who has access to Confidential Discovery Material that has been

 designated as Confidential or Outside Counsel’s Eyes Only shall take all due precautions to

 prevent the unauthorized or inadvertent disclosure of such material. No Confidential Discovery

 Materials may be used other than in connection with this litigation or in a manner inconsistent

 with this Order.

        12.     If, in connection with this litigation, a party inadvertently discloses information



                                                  5
Case 1:19-cv-00067-LO-MSN Document 51-1 Filed 09/17/19 Page 6 of 8 PageID# 562



 subject to a claim of attorney-client privilege or attorney work product protection (“Inadvertently

 Disclosed Information”), such disclosure shall not constitute or be deemed a waiver or forfeiture

 of any claim of privilege or work product protection with respect to the Inadvertently Disclosed

 Information and its subject matter.

        13.     If a disclosing party makes a claim of inadvertent disclosure, the receiving party

 shall, within five business days, return or destroy all copies of the Inadvertently Disclosed

 Information, and provide a certification of counsel that all such information has been returned or

 destroyed.

        14.     Within five business days of the notification that such Inadvertently Disclosed

 Information has been returned or destroyed, the disclosing party shall produce a privilege log

 with respect to the Inadvertently Disclosed Information.

        15.     The receiving party may move the Court for an Order compelling production of

 the Inadvertently Disclosed Information. The motion shall not disclose the Inadvertently

 Disclosed Information in the public filing, and shall not assert as a ground for entering such an

 Order the fact or circumstances of the inadvertent production.

        16.     The disclosing party retains the burden of establishing the privileged or protected

 nature of any Inadvertently Disclosed Information. Nothing in this Order shall limit the right of

 any party to request an in camera review of the Inadvertently Disclosed Information.

        17.     This Protective Order shall survive the termination of the litigation. Within 30

 days of the final disposition of this action, all Confidential Discovery Material designated as

 “Confidential” or “Outside Counsel’s Eyes Only,” and all copies thereof, shall be promptly

 returned to the producing person, or, upon permission of the producing person, destroyed.

        18.     This Court shall retain jurisdiction over all persons subject to this Order to the



                                                  6
Case 1:19-cv-00067-LO-MSN Document 51-1 Filed 09/17/19 Page 7 of 8 PageID# 563



 extent necessary to enforce any obligations arising hereunder or to impose sanctions for any

 contempt thereof.




 SO ORDERED.



                                                            ______________________________
                                                                        Judge


                                                            Date:




                                                 7
Case 1:19-cv-00067-LO-MSN Document 51-1 Filed 09/17/19 Page 8 of 8 PageID# 564



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division


  CODE-TO-LEARN FOUNDATION D/B/A
  SCRATCH FOUNDATION,

          Plaintiff,
                                                        Civil Action No. 1:19-cv-67-LO-MSN
  v.

  SCRATCH.ORG, an Internet domain name,

          Defendant.



          I,                                    , acknowledge that I have read and understand the

 Protective Order in this action governing the non-disclosure of those portions of Discovery

 Material that have been designated as Confidential. I agree that I will not disclose such

 Confidential Discovery Material to anyone other than for purposes of this litigation and that at

 the conclusion of the litigation I will return all discovery information to the party or attorney

 from whom I received it. By acknowledging these obligations under the Protective Order, I

 understand that I am submitting myself to the jurisdiction of the United States District Court for

 the Eastern District of Virginia for the purpose of any issue or dispute arising hereunder and that

 my willful violation of any term of the Protective Order could subject me to punishment for

 contempt of Court.




 Dated:
